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                                             STATE OF MICHIGAN

                      THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW


         CITY OF YPSILANTI, a Michigan municipal
         corporation
                                                                 21-000696-CE
                Plaintiff,                                    Case No. 21-            -CE

         V.                                                   Hon. JUDGE CAROL KUHNKE

         M.I.C. LIMITED, INC., YPSILANTI ART
         THEATRE CORP. d/b/a Deja Vu Showgirls
         Ypsilanti, INTERNATIONAL
         AMUSEMENT, LTD.,

                Defendants.


         Emily C. Palacios (P6494 l)
         Miller Canfield Paddock and Stone,   PLC
         101 North Main Street, 7th Floor
         Ann Arbor, Michigan 48104
,....    (734) 668-7784
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0        palacios@millercanfield.com
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E                       A civil action between these parties arising out of the transaction
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 0                      or occurrence alleged in the complaint has been previously filed in
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                        the U.S. District Court for the Eastern District of Michigan, where
 co
~                       it was given docket number 5:21-cv-10982 and was assigned to
 >,                     Judge Judith E. Levy.
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 ~
 co           COMPLAINT FOR DECLARATORY JUDGMENT, INJUNCTIVE RELIEF, AND
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 Cl)                             NUISANCE ABATEMENT
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z               Plaintiff City of Ypsilanti states as follows for its complaint against Defendants:
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                                                      Parties

         1.     Plaintiff City of Ypsilanti ("City") is a municipal corporation under the Home Rule City

                Act, MCL 117.1 et seq.




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2.    Defendant M.I.C. Limited, Inc. ("MIC") is a Michigan corporation that owns real

      property commonly known as 29-33 N. Washington St., Ypsilanti, Michigan and which

      the City's assessing records identifies as Parcel Number 11-40-484-001 (the "Property").

3.    Defendant Ypsilanti Art Theatre Corp., d/b/a Deja Vu Showgirls Ypsilanti, ("Deja Vu")

      is a Michigan corporation that conducts business at the Property.

4.    Defendant International Amusement, Ltd. is Michigan corporation that recently identified

      itself as owner of the portion of the Property commonly known as 31 N. Washington St.,

      Ypsilanti, Michigan on a permit application submitted to the City and which may also

      conduct business at this location.

                                           Jurisdiction

5.    This is an equitable action to abate nuisance through permanent injunctive relief over

      which the court has jurisdiction pursuant to MCL 600.2940.

6.    This action also seeks a declaratory judgment under MCR 2.605 over which the court has

      jurisdiction pursuant to MCL 600.605.

7.    Venue is proper in this Court pursuant to MCL 600.1621 or MCL 600.1627 because

      Defendants conduct business in Washtenaw County or, in the alternative, because the

      cause of action arises from defendants conduct in Washtenaw County.

8.    A justiciable controversy is presented because Defendants have, both by their own

      actions and other circumstances, violated city ordinances in numerous ways and have lost

      any right that one or more of them may have had to use the Property. as a nonconforming

      use (an adult regulated use), but Defendants nevertheless seek to reconstruct and continue

      the nonconforming use. Deja Vu has by its own actions extinguished any lawful




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      nonconforming status that it may have had. Consequently, Defendants use of the Property

      as a nonconforming use is a nuisance per se that must be permanently abated.

9.    Only Michigan state courts have the jurisdiction to render an authoritative declaration,

      under Michigan state law and City ordinances, regarding Deja Vu's nonconforming use

      status.

                                     Non-Removability

10.   This state court declaratory judgment action is not removable to federal district court

      because that court lacks original jurisdiction of the subject matter and does not obtain

      jurisdiction pursuant to the federal removal statute, 28 USC § 1441.

11.   This state court complaint, brought under Michigan law and Michigan Court Rules, seeks

      to obtain declaratory and injunctive relief concerning a municipal ordinance, a derivative

      of state law. Thus, the City could not have filed this action under the federal court's

      original jurisdiction, Skelly Oil Co v Phillips Petroleum Co, 339 US 667 (1950), nor

      could the federal court obtain jurisdiction upon removal, Franchise Tax Board of

      California v. Construction Laborers Vacation Trust, 463 US 1, 12 (1983).

12.   The removal provisions of 28 USC § 1441 set forth the basis for removal of actions over

      which the federal courts could exercise original jurisdiction, but do not expand federal

      jurisdiction. Id. at 11, 18-19 (following Skelly Oil and the well-pleaded complaint rule).

      Thus, the City could not initiate its complaint for state-law relief in federal court, and

      federal jurisdiction cannot obtain on removal.

                                     General Allegations

13.   In the early 1980s, Defendant MIC purchased the Property.




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14.   In 1982, Defendant Deja Vu began using the Property for what Chapter 122 of the

      Ypsilanti City Code (the "Zoning Ordinance") now defines as Adult Regulated Uses.

15.   In the 1990s, the City amended its Zoning Ordinance to regulate the location of Adult

      Regulated Uses.

16.   Deja Vu has historically operated one or more Adult Regulated Uses on the Property,

      specifically: (1) adult book or supply store, (2) adult mini-motion picture theater, (3)

      adult live stage performing theater, and (4) cabaret.

17.   In January 2006, MIC submitted Deja Vu's floor plan to the City, showing areas of the

      Property that were, and were not, used for Adult Regulated Uses.

18.   A true and correct copy of the floor plans submitted by MIC in January 2006 is attached

      as Exhibit A (hereafter, "Deja Vu's 2006 Floor Plan").

19.   Deja Vu' s 2006 Floor Plan showed the main floor of the 31 N. Washington St. portion of

      the Property being used for Adult Regulated Uses.

20.   Deja Vu's 2006 Floor Plan does not show the basement being used for any Adult

      Regulated Uses.

21.   In response to MIC's submission, the City issued a letter in February 2006, advising that

      the Property was in a zoning district that did not permit Adult Regulated Uses. A true and

      correct copy of the City's February 2006 letter is attached as Exhibit B.

                                Applicable City Zoning Regulations

22.   Zoning Ordinance§ 122-203 defines Adult Regulated Uses to include:

         (1) Adult book or supply store means an establishment having 20 percent or
             more of its stock in trade or its sales devoted to the distribution, display, or
             storage of books, magazines, and other periodicals and/or photographs,
             drawings, slides, films, video tapes, recording tapes, and/or novelty items
             which are distinguished or characterized by their emphasis on matters
             depicting, describing, or relating to specified sexual activities or specified



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            anatomical areas. Such establishment or the segment or section devoted to
            the sale or display of such material in an establishment is customarily not
            open to the public generally but only to one or more classes of the public,
            excluding any minor by reason of age.

         (2) Adult mini-motion picture theater means an enclosed building with a
            capacity for less than 50 persons used for presenting material
            distinguished or characterized by an emphasis on matter depicting,
            describing or relating to specified sexual activities or specified anatomical
            areas, for observation by patrons therein. Such establishment is
            customarily not open to the public generally, but only to one or more
            classes of the public, excluding any minor by reason of age.

                                               ***
         (4) Adult motion picture theater or adult live stage performing theater means
             an enclosed building with a capacity of 50 or more persons used for
             presenting material distinguished or characterized by an emphasis on
             matter depicting, describing or relating to specified sexual activities or
             specified anatomical areas for observation by patrons therein. Such
             establishment is customarily not open to the public generally, but only to
             one or more classes of the public, excluding any minor by reason of age.

         (5) Cabaret means an establishment which features any of the following:
             topless dancers and/or bottomless dancers, strippers, or topless and/or
             bottomless waitpersons or employees or any other form of nude or
             partially nude service or entertainment.

                                               ***
         (7) Specified anatomical areas means portions of the human body defined as
              follows:
         (i) Less than completely and opaquely covered human genitals, pubic region,
              buttocks, or female breast below the point immediately above the top of
              the areola; and
         (ii) Human male genitals in a discernibly turgid state, even if completely and
              opaquely covered.

         (8) Specified sexual activities means the explicit display of one or more of the
             following:

         (i) Human genitals in a state of sexual stimulation or arousal.
         (ii) Acts of human masturbation, sexual intercourse, or sodomy.
         (iii) Fondling or other erotic touching of human genitals, pubic region,
              buttocks, or female breast.




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23.   Per the City's Official Zoning Map adopted December 15, 2014, updated through June

      2018, the Property is zoned "C" district.

24.   Per§ 122-446, Adult Regulated Uses are not allowed in the Center zoning district.

25.   Section 122-349 classifies nonconforming uses into Class A nonconforming uses

      (multifamily residential uses) and Class B nonconforming uses, specifying that all

      nonconforming uses of buildings not designated Class A are designated Class B

      nonconforming uses.

26.   Under§ 122-351, Class A nonconforming uses are limited to multiple family dwelling

      and group dwelling uses in Zones RI, CN-SF, and CN-Mid districts.

27.   Thus, any nonconforming use in a C zoning district is a Class B nonconforming use.

28.   A Class B nonconforming use may continue per§ 122-346, which provides:

              Any class B nonconforming use which existed lawfully at the time of the
              adoption of the ordinance from which this chapter derives and which
              remains nonconforming and any such use which becomes nonconforming
              upon the adoption of this article, or of any subsequent amendments
              thereto, may be continued, subject to the regulations in this article.

29.   Additionally, § 122-349, "Class B nonconforming use of buildings," states in relevant

      part:

              (b) Expansion of nonconforming use.

              (1) The nonconforming use of any part of a building or structure must not
              be expanded or extended into any other portion of such building or
              structure.
              (2) No visible structural alteration must be made to the building or
              structure devoted to a nonconforming use, except repairs and maintenance
              work which are required to keep such building in sound condition or as
              required by law.
              (3) An existing structure containing a nonconforming use shall not be
              enlarged, constructed, reconstructed, moved or structurally altered or
              extended, unless the use is changed to a use which is a permitted in the
              district in which the structure is located.




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                (d) Removal or destruction. If a building or structure in which a
                nonconforming use is being conducted is removed, destroyed, or severely
                damaged to the extent that the cost of restoration of the structure exceeds
                100 percent of the state equalized value (SEV) or 50 percent of a higher
                value established by the most recent appraisal of the structure exclusive of
                the foundation and land, the nonconforming use shall not be renewed, and
                any subsequent use of the premises must conform to the use regulations of
                the district in which the premises are located.

30.      Further, § 122-340(a) requires building permits for any construction work:

                Permit requirement. No building or structure within the city shall hereafter
                be erected, moved, repaired, altered or razed, nor shall any work be started
                to erect, move, repair, alter, or raze until a building permit has been issued
                in accordance with the building regulations of this Code. No building
                permit shall be issued unless it is in conformity with the provisions of this
                chapter and all amendments hereto.

      Deja Vu's Actions and Other Events Resulting in Loss of Nonconforming Use Status

31.      In March 2019, a City inspector observed unpermitted construction underway in the

         basement of the Property.

32.      On March 21, 2019, the City issued a Stop Work Order to Deja Vu. A true and correct

         copy of the Stop Work Order is attached as Exhibit C.

33.      Despite the Stop Work Order, Defendants continued construction without obtaining a

         building permit.

34.      On or about November 11, 2019, City staff conducted a walkthrough of the Property,

         during which City staff observed that Deja Vu had expanded and extended the

         nonconforming use into the basement by demolishing two bathroom stalls, constructing a

         shower, constructing new walls in the basement under the stage area, and creating a

         dressing room area (complete with laundry facilities) used by the establishment's

         employees. Deja Vu had also undertaken construction on the main floor without

         obtaining a building permit.



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35.   On or about December 13, 2019, the City's Director of Community and Economic

      Development Department ("Director") sent a letter to Deja Vu documenting the "illegal

      expansion of the nonconforming use." A true and correct copy of the Director's

      December 13, 2019 letter with attachments 1s attached as Exhibit D (hereafter,

      "Director's December 2019 Letter").

36.   Nevertheless, Deja Vu continued operating its illegally expanded nonconforming use.

37.   On or about March 23, 2020, pursuant to a statewide COVID-19 mandate, Defendant

      Deja Vu maintains it ceased operating at the Property.

38.   On or about July 29, 2020, a fire broke out at the Property.

39.   The Property was extensively damaged by fire, smoke, and water used to put out the fire.

40.   On or about October 2020, the City applied for, and obtained, a search warrant from the

      l 4A2 District Court to search the Property and document violations of the Zoning

      Ordinance and other City codes.

41.   On or about November 20, 2020, pursuant to the search warrant, the City conducted an

      inspection of the Property.

42.   The inspection revealed that Deja Vu had continued its process of illegal construction,

      and additional alterations of its floor plan.

43.   Deja Vu had removed preexisting walls on the main floor of the Property and constructed

      entirely new "VIP rooms."

44.   These new VIP rooms (which Deja Vu has previously misrepresented as storage rooms)

      fill the area formerly used as a dressing room and extend into the area formerly used as

      an adult bookstore.




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45.   Deja Vu also made structural alterations to the storefront and entrance area, making it

      smaller, to accommodate Deja Vu's unlawful expansion described above.

46.   Deja Vu made all of these structural alterations without obtaining building permits.

47.   In January 2021, Defendant International Amusement, LTD. submitted an incomplete

      building permit application and interior remodeling plans to obtain approval for the

      limited purpose of "Relocat[ing] changing stations in basement to second floor to

      eliminate occupancy of basement level." A true and correct copy of the building permit

      application submitted by International Amusement is attached as Exhibit E (hereafter,

      "January 21, 2021 Building Permit Application (Incomplete)."

48.   Deja Vu never applied for or obtained a building permit for any of its illegal construction

      in the basement or its construction of new storage rooms / VIP rooms / offices on the

      second floor depicted on the interior remodeling plans submitted with the January 21,

      2021 Building Permit Application, which illegally expand and extend the nonconforming

      use.

49.   The 2020 State Equalized Value (SEV) of the Property is $340,900. A true and correct

      copy of the City Assessor's Valuation Report dated February 10, 2021 is attached as

      Exhibit F.

50.   The cost of restoration of the structure exceeds 100 percent of the SEV or 50 percent of a

      higher value established by the most recent appraisal of the structure exclusive of the

      foundation and land.

51.   The Director has determined that as a result of Deja Vu's unlawful acts, and as a result of

      the extensive damage caused by the July 2020 fire, Deja Vu lost any status it may have

      had as a lawful nonconforming use, and may no longer continue operating as a




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       nonconforming use. A true and correct copy of the Director's June 28, 2021 Zoning

       Enforcement Action letter is attached as Exhibit G.

                            COUNTl
  DECLARATORY JUDGMENT THAT DEJA VU HAS EXTINGUISHED, AND LOST,
                ANY LAWFUL, NONCONFORMING USE

 52.   The City realleges paragraphs 1-51 as though fully set forth in this paragraph.

 53.   Under MCL 125.3208(4), the elimination of nonconforming uses serves a public purpose.

 54.   "Generally speaking, nonconforming uses may not be expanded, and one of the goals of

       local zoning is the gradual elimination of nonconforming uses." Century Cellunet of S

       Mich Cellular, LP v Summit Twp, 250 Mich App 543, 546, 655 N.W.2d 245, 248 (2002).

 55.   Zoning Ordinance § 122-349(b) prohibits the expansion, enlargement, extension, or

       structural alteration of a nonconforming use or a building or structure containing a

       nonconforming use, unless the use is changed to a permitted use.

 56.   By making the changes described above at the Property, Defendants have unlawfully

       expanded the nonconforming use, and have therefore lost any right to continue a

       nonconforming use at the Property.

 57.   By making the changes described above at the Property, Defendants have unlawfully

       extended the nonconforming use, and have therefore lost any right to continue a

       nonconforming use at the Property. See, e.g., Cole v City of Battle Creek, 298 Mich 98,

       103, 298 NW 466, 468 (1941) ("The proper test is whether an existing nonconforming

       use is extended and the life of the existing nonconforming building prolonged.... The

       test applied by the trial judge, i.e., comparison of square feet, would permit an almost

       indefinite continuance of a nonconforming use by periodic rebuilding, such as the tearing

       down of old structures and building of new ones provided slightly less floor space was

       included in the rebuilt structure.").



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 58.   By making the changes described above at the Property, Defendants have unlawfully

       structurally altered the nonconforming use and the structure in which it is located,

       without changing the use of the Property to a conforming use. Defendants have therefore

       lost any right to continue a nonconforming use at the Property.

 59.   Additionally, any right to continue the nonconforming use has been terminated by

       operation of law because the cost of restoration after the July 2020 fire exceeds the

       thresholds of§ 122-349(d).

 60.   Therefore, the City is entitled to a declaratory judgment that Defendants have lost any

       right to continue a nonconforming use at the Property, and a declaration that continued

       operation of a nonconforming use at the Property is unlawful.

                                        COUNT2
                                  NUISANCE ABATEMENT

 61.   The City realleges paragraphs 1-61 as though fully set forth in this paragraph.

 62.   The Zoning Ordinance was adopted pursuant to the Michigan Zoning Enabling Act,

       Public Act 110 of 2006, as amended.

 63.   Under MCL 125.3407:

              a use of land or a dwelling, building, or structure ... used ... altered ...
              or converted in violation of a zoning ordinance or regulation adopted
              under [the Michigan Zoning Enabling Act] is a nuisance per se. The court
              shall order the nuisance abated, and the owner or agent in charge of the
              dwelling, building, structure, tent, recreational vehicle, or land is liable for
              maintain a nuisance per se.

       See Jerome Tp v Melchi, 184 Mich App 228, 231-232, 457 NW2d 52 (1990) ("A change

       in the nature and size of a nonconforming use is an extension of a prior nonconforming

       use and constitutes a nuisance per se.") (citing Norton Shores v Carr, 81 Mich Ap. 715,

       720,265 NW2d 802 (1978)).




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 64.   A nuisance ansmg from violation of a local zoning ordinance constitutes a "public

       nuisance." Towne v Harr, 185 Mich App 230,232,460 NW2d 596 (1990).

 65.   Section 122-375(a) of the Zoning Ordinance provides that "[a]ny building which is ...

       altered . . . or used . . . in violation of any of the provisions of this chapter is hereby

       declared to be a public nuisance per se .... "

 66.   Because any right to continue a nonconforming use at the Property has been lost, the City

       is entitled to an order that the nuisance be abated.

                                          COUNT3
                                     INJUNCTIVE RELIEF

 67.   The City realleges paragraphs 1-66 as though fully set forth in this paragraph.

 68.   "All claims based on or to abate a nuisance may be brought in the circuit court. The

       circuit court may grant injunctions to stay and prevent nuisance." MCL 600.2940(1).

 69.   Public nuisances are abatable by injunction. Bloss v Paris Tp, 380 Mich 466, 473, 157

       NW2d 260 (1968) ("[w]here the facts disclosed by the record show the existence of a

       public nuisance an injunction would lie").

 70.   By expanding, enlarging, extending, altering, and continuing a nonconforming use in

       violation of the Zoning Ordinance, Defendants have committed and are committing

       illegal acts.

 71.   Illegal acts constitute a public nuisance from which "[h]arm to the public is presumed to

       flow." Attorney General v PowerPick Club, 287 Mich App 13, 44, 783 NW2d 515 (2010)

       (quoting Attorney General ex rel Michigan Bd of Optometry v Peterson, 381 Mich 445,

       465 164 NW2d 43 (1969)).

 72.   The City is entitled to a permanent injunction prohibiting Defendants from continuing

       any nonconforming use at the Property.



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        WHEREFORE, Plaintiff City of Ypsilanti respectfully requests that this Court grant

 judgment in its favor and enter an order:

        (A) declaring that Defendants have lost any right to continue a nonconforming use at the

 Property, including in any of the areas of the building shown in Exhibit A;

        (B) declaring that continuance of any nonconforming use at the Property, including in

 any of the areas shown in Exhibit A, is a nuisance per se and ordering the nuisance abated;

        (C) permanently enjoining Defendants from continuing a nonconforming use at the

 Property, including in any of the areas of the building shown in Exhibit A; and

        (D) such other relief as the court deems equitable and just.


Dated: July 1, 2021                               Respectfully submitted,

                                                   Isl Emily C. Palacios
                                                  Emily C. Palacios (P6494 l)
                                                  Miller, Canfield, Paddock and Stone, PLC
                                                  Attorneys for Plaintiff City of Ypsilanti
                                                  101 North Main Street, 7th Floor
                                                  Ann Arbor, Michigan 48104
                                                  (734) 668-7784




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       EXHIBIT A




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       EXHIBITB




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                                City of Ypsilanti
                                Planning & Development Department


                                                                                                     February 13, 2006



 MIC Limited
 Modern Bookkeeping, Inc.
 PO Box408
 Durand, MI 48429

 RE: Proposed Renovation/Expansion of Deja Vu, 31 N. Washington - City of Ypsilanti

 To Whom it May Concern,

 We have been contacted by Paul Bush of Asselin Associates Architects regarding a proposed expansion of Deja Vu.
 We received existing and proposed floor plans on January 20, 2006 from Mr. Bush for the purpose of reviewing the
 proposed expansion. I have had the opportunity to review the floor plans and provide the following information.

The property is zoned 8-3, Central Business District. The existing use of the premises would be defined as three
different uses under Adult Regulated Uses of the City of Ypsilanti Zoning Ordinance, section 122-2:

     (1) Adult book or supply store means an establishment having 20 percent or more of its stock in trade or its
     sales devoted to the distribution, display, or storage of books, magazines, and other periodicals and/or
     photographs, drawings, slides, films, video tapes, recording tapes, and/or novelty items which are distinguished
     or characterized by their emphasis on matters depicting, describing, or relating to specified sexual activities or
     specified anatomical areas. Such establishment or the segment or section devoted to the sale or display of such
     material in an establishment is customarily not open to the public generally but only to one or more classes of
     the public, excluding any minor by reason of age.

    (2) Adult mini-motion picture theater means an enclosed building with a capacity for less than 50 persons used
    for presenting material distinguished or characterized by an emphasis on matter depicting, describing or
    relating to specified sexual activities or specified anatomical areas, for observation by patrons therein. Such
    establishment is customarily not open to the public generally, but only to one or more classes of the public,
    excluding any minor by reason ofage

     (5) Cabaret means an establi.shment which features any of the following: topless dancers and/or bottomless
     dancers, go-go dancers, strippers, male and/or female impersonators or similar entertainers, or topless and/or
     bottomless waitpersons or employees or any other form ofnude or partially nude service or entertainment.

The total existing floor area that these uses occupy is approximately 4,250 s.f. The B-3 Zoning District does not
permit Adult Regulated Uses as either Permitted or with Special Use approval. Therefore, the current use is defined
as a Non-Conforming Use of Buildings or Structures; pursuant to 122-205 of the Zoning Ordinance:

     Sec. 122-205. Nonconforming uses of buildbigs or structures.
             The nonconforming use of a building or structure, or structure and lot in combination, may be
     continued subject to the following provisions:

         (1) Change in use. The nonconforming use of a building or structure may not be changed to a different use
             unless the new use is permitted in that same district. Any structure, or structure and lot in combination,
             in or on which a nonconforming use is replaced by a permitted use, shall thereafter conform to the
             regulations of the district in which it ls located and the nonconforming use may thereafter not be
                                                                                                                          w·
                                                                                                                          Exhibit
                                                                                                                            B

                         One South 11uron Street                    Tel (734) 483-9646               www .CityofYpsilanti.cmn
                         Ypsilanti, Ml 481 97                       Fax' (734) 483-7260
                            I
                                                                                                                EXHIBIT 1
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               ,·esumed.

          a.        A building or structure used for residential pu17Joses which is nonconforming due to the number of
                    dwelling units contained therein may only be changed so that the number of dwelling units is
                    decreased, or so that the use is brought into conformity with this chapter.

          b.        Notwithstanding the above, a nonconforming use a building or structure may be changed to another
                    nonconforming use so that the degree of nonconformity is lessened when authorized by the planning
                    commission after a public notice and hearing in accordance with section !22-164. In considering
                    such authorization, the planning commission shall consider the following:
               1.     Whether the proposed use is equally or more appropriate than the present nonconforming zoning
                      district in which the building, structure or land is located. No change to a less appropriate use
                      may be authorized by the planning commission.
               2.     Whether the proposed use will inteifere with the use of ac{joining lands or other properties in the
                      surrounding neighborhood for the uses for which they have been zoned pursuant to the provisions
                      ofthis chapter.

               3.     The effect of the proposed use on adjoining lands and the surrounding neighborhood.
               4.     In permitting such change, the planning commission may require appropriate conditions and
                      safeguards in accord with the purpose and intent ofthis chapter.
               5.     Where a nonconforming use of a structure, or structure and land, is hereafter changed to a more
                      conforming use, it shall not thereafter be changed to a less conforming use.

        (2) Expansion ofnonconfoml.ing use.
          a.        The nonconforming use ofany part of a building or structure shall not be expanded or extended into
                    any other portion ofsuch building or structure.
          b.        No visible structural alteration shall be made to the building or structure devoted to a
                    noncoriforming use, except repairs and maintenance work which are required to keep such building
                    in sound condition or as required by law.

          c,        An existing structure containing a nonconforming use shall not be enlarged, constructed,
                    reconstructed, moved or structurally altered or extended, unless the use is changed to a use which is
                    permitted in the district in which the structure is located.
      (3) Discontinuance. If a nonconforming use of a building or structure is discontinued for a period of 365
          consecutive days or more, it shall not be renewed, and any subsequent use of the premises shall conform
          to the use regulations of the district in which the premises are located.

      (4) Change in occupancy or ownership. A change of occupancy or ownership shall not constitute a
          discontinuance, or change in use.

      (5) Removal or d~struction. If a building or structure in which a nonconforming use is being conducted.is
          removed, destroyed, or severely damaged to the extent that the cost of restoration of the structure
          exceeds I 00 percent of the state equalized value (SEV) or 50 percent of a highet value established by the
          most recent appraisal of the structure exclusive of the foundation and land, the nonconforming use shall
          not be renewed, and any subsequent use of the premises shall conform to the use regulations of the
          district in which the premises are located. Single-family homes on individual lots that are considaed a
          non-conforming use in the B-1 Zoning District shall be allowed to be rebuilt regardless of the amount of
          damage done to the structure.

          For the purpose of calculating a fair and equitable cost of restoration regulated by this section, the
          average of two bid estimates from licensed contractors shall be used. All work requiring permits under
          state and local regulations, and materials necessary to bring the structure up to current code shall be
          included. Clean up costs, demolition, furnishings, appliances, and site work, i.e. landscaping, fencing,
          paving, shall not be included. The actual repair and reconstruction may be done by the owner or




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             contractor ofhis or her choice,
         (6) Abandonment If the nonconforming use of land is abandoned for a period of 180 consecutive days, it
             shall not thereafter be renewed, and any subsequent use of the land shall conform to the regulations of
             the district in which the land is located.

  The proposed renovation and expansion, based on the proposed floor plans submitted, calls for an expansion of the
  floor areas that each of the existing Cabaret, Adult Book or Supply Store, and Adult Mini-Motion Picture Theater
  occupy. This type of change would be contrary to section 122-205 (2), above, and therefore, prohibited. Below is a
  summary of approximate existing and proposed floor areas for each of the uses:

                                                  Table 1
                         Summary of Approximate Existing and Proposed Floor Areas -
                                           Adult Regulated Uses

                              USE                   Existinq Floor Area      Proposed Floor Area
               Cabaret                                    2 700 s.f.              6,900 s.f.
               Adult Book or Suoolv Store                 1 200 s.f.              3.400 s.f.
               Adult Mini-Motion Picture Theater            250 s.f.              1,000 s.f.
                                          TOTAL          4,150 s.f.              11,300 s.f.

  Please contact me with any questions.

 Sincere~y,
~/// · I!.✓ .            IL_,/-#/·
                          .

  /l/t 4/L~o·
 Nathan J. Voght, AICP
 Planner II

 CC:      File
          John Barr, City Attorney
          Jon Ichesco, Fire Marshall
          Charles Soulard, Building Official
          International Amusement, LTD, Tax Dep't, 8252 E. Lansing Road, Durand, MI 48429
          Paul Bush, Asselin Associates Architects, 4488 W. Brlstol Road, Flint, MI 48507




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       EXHIBIT C




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              City of Ypsilanti
              Building Department




                               STOP WORK ORDER
 March 21, 2019
   ,   '
 DEJA VU
 31 N WASHINGTON
 YPSILANTI MI 48197


 Address Location: 31 N WASHINGTON

       •   On 03/21/19 a STOP WORK ORDER was posted for work completed or in
           progress at the above subject location, specifically, interior remodel (building
           permit (3 sets of sealed drawings/plans required) electrical and plumbing)

       •   As of this date, the required permit(s) have not been issued for this work in
           accordance with code requirements.


 Please obtain the required permit for this work within SEVEN (7) DAYS of the date of
 this letter, (a permit application is enclosed for your convenience).

 Please be advised: Continuing the unpermitted work and/or failure to obtain this
 required permit within this time period may result in prosecution for non-compliance
 with city code requirements.

 If you have any questions regarding this matter, or if we can provide any other
 assistance, please feel free to contact us during regular office hours Monday through
 Friday from 8:00 am to 4:00 pm.

 Sincerely,

 CITY OF YPSILANTI

 John Roe
 Compliance Officer

 Enc: Building, Electrical, and Plumbing Permit Applications

 pc: MIC LIMITED PO BOX 408 DURAND, MI 48429



           One South Huron Street    Tel: (734) 482-1025    ww.cityofypsilanti.com
           Ypsilanti, Ml 48197       Fax: (734) 483-7444
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       EXHIBITD




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                                _______________________ ________ _____
                                City of Ypsilanti                                     ,               .,

                                Cor nrnunity and Economic Development




    December 13, 2019

    Deja Vu
    31 N. Washington St.
    Ypsilanti, MI 48197


    RE: Expansion of nonconforming use at 31 N. Washington St. (11-11-40-484-001)

   Dear Deja Vu,

   Deja Vu, at 31 N. Washington St. "the Property", contains Adult Regulated Uses that are not allowed in Center ("C")
   Zoning Districts as Permitted Uses nor as Special Uses. Therefore, these uses are defined as nonconforming uses,
   subject to Section 122-349 of the City of Ypsilanti Zoning Ordinance.

   City staff observes an illegal expansion of the nonconforming use has occurred. This is based on a walkthrough of the
   Property conducted on November 11, 2019. Several rooms/spaces have changed without proper approvals/permits
   (please see Exhibit A, attached). The floor plan has been modified in such a manner that has relocated the dressing
   room to the basement floor, an area determined in previous floor plans as "currently basement is not used."
   Additionally, it appeared that new walls were constructed in the basement below the stage area. These overall changes
   to the floor plan are in violation of the City of Ypsilanti Zoning Ordinance §122-349(b)(1) and §122-349(b)(3):

                City of Ypsilanti Zoning Ordinance §122-349
                (b) Expansion of class B nonconforming use.
                             (1) The nonconforming use of any part of a building or structure must not be expanded or
                                  extended into any other portion of such building or structure.
                             (2) No visible structural alteration must be made to the building or structure devoted to a
                                  nonconforming use, except repairs and maintenance work which are required to keep such
                                  building in sound condition or as required by law.
                             (3) An existing structure containing a nonconforming use shall not be enlarged, constructed,
                                  reconstructed, moved or structurally altered or extended, unless the use is changed to a
                                  use which is permitted in the district in which the structure is located.

   Because this is a nonconforming use, the floor plan should restore to how it has e · ted in the past. The City requires
   another inspection of the Property, including the basement. Please conta       e at 734-483-9646 with any questions.
   The entire text of the Zoning Ordinance is available on our website      p://cityofypsilanti.com/zoning.

   Sincerely,




   Joe Meye
   Dlreeto , ommunlty and Economic

   CC:      Bulldlng Occupant
            Building Department
            FIie


                             One South Humn Street                  Tel (734) 483-9646                     www.CltyotYpsllanti.co111
                             Ypsilanti, Ml 48197              1     Fax (734) 483-7260
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                                                 EXHIBIT A

   Exhibit A compares what City staff previously understood to be the existing floor plan to what was
   observed on the November 11, 2019 walkthrough. The space/room designations were annotated on the
   floor plan diagram by City staff. Spaces "C", "E", "F", and "K" have changed without approvals/permits.


    Space/Roo~. Existing Floor Plan Diagram (see               Obsenied on November 11, 2019
                followfria oaaes)    ······ - .                Walkl:hrough           ...
                 A Existing seating area, stage, storage,      Same
                     bar and DJ booth
                 B   Private dance area                        Same

                 C Women's restroom with shower               Storage room

                D    Men's and women's restrooms              Same

                 E   Existing dressing room                   Offices under construction

                 F   Existing book store                      Club entrance with offices under
                                                              construction and cash register
                G    Existing business                        AM radio station

                H    Existing office                          Same

                 I   Vacant space                             Same

                 J Video viewing booths                       Same

                K "Currently basement is not used"            Area being used as dressing room
                                                              with shower
                L "Currently second floor is not used"        Same




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                  ~-J
    ENTR'r'                    ::EXISTING ·:
                               .BOOK STO,RE


                  OFFICE

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                                                        CURRENTLY
                                                        BASEHENT
                                                        IS NOT USED.



                                                       K



                                                                           Two of these were
                                                                           converted to showers.
                                                                           Added laundry
                                                                           facilities.


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                                      L           CURRENTLY
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        EXHIBIT E




                                                                        EXHIBIT 1
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                . 1 I   •\             City of Ypsilanti Building Department
                                                                                   One South Huron • Ypsilanti, MI 48197                                                                           Office Use Only:
         '                            ,,~-
                                                                                Phone: (734) 482-1025 • Fax: (734) 483-7444
                                                                                                                                                                                             Receipt: _ _ _ _ __
                                                                                          www.cityofypsilanti.com
      ""'."                               \..'                                   Building Permit & Plan Review Application                                                                   Method: - - - - - -
                               .
                                      /i
                                      j                                   Separate Applications Must Be Completed for Electrical, Mechanical, Plumbing & Signs ,___ _ _ _ _ _ _ _ __ _ . J
                      ✓,,.,~.,lff/·
                                                                                  Faxed or emailed a               lications cannot be acce ted
 I. Owner/Contractor lnformatioh0                                                  >.0
                                                  Address

     Property                                               31 N. Washington St. Ypsilanti, Ml 48197
                                                                                                                                                                                                         -- -       --   -        --- -- --
    (Job Location)                                Between                                                                                                  . ! Number of Apts./Sultes                                    Owner Occupied
                                                            N. Adams St.                    And    N. Huron St.                                                  I

                                                                                                                                                              I                                               I          0        Yes     O No
                                                 Name
                                                                                                                                                                     Phone:    (989) 288-3141
       Owner/                                               International Amusement, LTD.
                                                                                                                                                                       Cell:   (989) 239-1413
       Agent                                     Address                                                                                                              Email:
                                                            1108 N. Saginaw St. Durand, Ml 48429                                                                               ccorwin@shianet.org
                                                 Company I Licensee                                                                                           ! Phone:         (989 486-9330
 Contractor                                                 Moltus Building Group, LLC.                                                                      i  Email: g.wrubel@moltusbuild.com
Information                                      Address                                                                                                     : License#        ....... - .. TExpiration
 If work is being done                                      3200 James Savage Rd. Suite 4 Midland, Ml l N/A                                                                                                I
by owner/agent skip to                                                                   --··----··-   i------------ ··--------- __________________________ ! ______________ , --- ---- -----·------·   ___ L_    ----       --         ------   -
     next section                                                                                                                            i MESC Employer# (or reason for exemption)
                                                 Federal Employer ID# (or reason for exemption): Worker's Comp Carrier (or reason for exemption)
                                                                                 461836550!                        Valley Forge Insurance!                            2006534-000
                                                 Name                                                                               ! Phone: (810) 230-9311
 Architect/                                                 AMAG
                                                                                                                                                                      Email: rembach@amagarch.com
 Engineer                                        Address                                                                                                             i..kensei  ·· · · ··· ·· ·· · 1 Expiration·
                                                            4488 West Bristol Rd. Flint, Ml 48507                                                                                                         I




                                          /Land Information•·
Historic District                                / Zoning District    / Flood Zone

l!J Yes D No                                     [C                   i    D Yes l!J No
III. Buildin Information
                                              □ Residential                                                                      Commercial
0         Single Family                                 O Hotel/Motel                             O     Multi-Family(# units_ _) 0 Office                                                        0      Church
0        Two Family                                     D Pole Barn/Shed                          O     Mercantile/Retail         0 Public Utility                                               0      Restaurant/Bar
0         Detached Garage ·                             D Other                                   D     Industrial                0 Hospital                 1
                                                                                                                                                                                                 !!I'   Other Entertainme

0        New Building                               O   Addition \        0                              O Re-Roof
                                                                       D Foundation O Accessory Structure (garage, shed, pool, etc,)
                                                                               Windows                                                                                   J


l!f      Alteration                                 □ House □Garage D Demolition i O Other _ _ _ _ _ _ _ _ __
                                                    O   Repair            O    Deck/Porch
Are there/will there be additional permits for this project? □ No~~ l!friuilding ·l!fHD,C · □ El~ctric~I · □ M~~hanical OP1~111bin~
Description of proposed work                                          (please specify apartment/suite numbers):

Relocate changing stations in basement to second floor to eliminate occupancy of
basement level.


V. Construction Value                                        *
* Must be based on market
. value of labor and materials                                       Additional Revie
      Building                            $                          0     Plan~ing/Zoning
    Electrical                            $                          □ DPS/MOOT
Mechanical $                                                         □ Health DE?pt.
  Plumbing $                                                         D Soil Erosion
                 Other                $                              0YCUA
                Total                 $20,000                        □ other:                                 ·□.Yes.
                                                                                                                                                                                                                  EXHIBIT 1
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                                                                                                                                                                                                                   PAGE 31
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  Plans must be submitted with this application before a permit can be issued, except as listed below.
' Plans are not required for alterations and repair work determined by the Building Official to be of a minor nature.
  Plans and specifications are required for all other building types and shall be prepared by, or under the direct supetvision of, an architect or engineer
  licensed pursuant to 1980 PA 299 and shall bear that architect's or engineer's seal and signature.

 Plan Review Required           l!f Yes D No                                                       Plan Submission Date:                  1/22/21
          You MUST submit three copies of plans. At least one set must be no larger than 11 x 17
 VII. Homeowner Affidavit ·
 HOMEOWNERS: I hereby certify that I am the bona fide homeowner of the above property. I am familiar with the provisions of the applicable ordinances
 and rules and hereby agree to make this installation or construction in conformance with the ordinance. I realize that in making this application, I assume
 the responsibility of a licensed contractor for the work mentioned in this permit. I agree to notify the Building Department after the work is completed so
 that the Department may make its required inspection(s). I further agree to keep all parts of this work exposed until approved by the inspector.


 Signature {Homeowners Only}                                    Printed Name and Address                                                  Date


 I HEREBY CERTIFY THAT THE PROPOSED WORK IS AUTHORIZED BY THE OWNER OF RECORD AND THAT I HAVE BEEN AUTHORIZED BY THE OWNER TO
 MAKE THIS APPLICATION AS HIS/HER AUTHORIZED AGENT, AND WE AGREE TO CONFORM TO ALL APPLICABLE LAWS OF THE STATE OF MICHIGAN. ALL
 INFORMATION SUBMITTED ON THIS APPLICATION IS ACCURATE TO THE BEST OF MY KNOWLEDGE.

 APPLICANT IS RESPONSIBLE FOR THE PAYMENT OF ALL APPLICABLE FEES AND CHARGES ASSOCIATED WITH THIS APPLICATION.

  SECTION 23A of the State Construction Code Act of 1972, Act No. 230 of Public Acts of 1972, being Section 125.1523a of the Michigan
  Compiled Laws, prohibits a person from conspiring to circumvent the licensing requirements of this State relating to persons who
  perfor. work on a residen~tbuilding or_@. residential structure. Violators of Section 23a are subjected to civil fines.

       . J--~~                                                  Gary Wrubel                                                                   1/22/21
 Signature of Applicant                                         Printed Name of Applicant                                                Date
How would you like the permit to be sent?         l!1
                                              Email               O
                                                             U.S. Mail
It is recommended that if you are hiring a contractor to do the work proposed on this application, that the contractor be the one to obtain
 permits. Permits will not be closed until a final inspection has been completed and approved by the Building Department.
 Frequent Contacts:
  Miss Dig (800) 482-7171                  Washtenaw County Soil Erosion (734) 222-6860
  YCUA     (734) 484-4600                  Washtenaw County Health Dept. (734) 544-6700
  DTE      (800) 477-4747                  City Building Inspection Line (734) 482-1025


 ZONING NOTES: Zoning District: _ _ _ _ _ _ _ _ __                                        Use: __________________

 Setbacks - Front: ________ Side: _ _ _ _ _ __                                            Side: ________ Rear: ________

 Notes:-------------------------------------------


 D    Approved        O Disapproved            Reviewed By: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                     Date:

 HISTORIC DISTRICT:                 0    Yes   O No
 Notes:----------------------------------------


 D    Approved        D    Disapproved Reviewed By:                                                                          Date:

 BUILDING NOTES: Use: _ _ __                            Construction Type:                           Code Edition(s): _ _ _ _ _ _ _ __

 Notes:----------------------------------------



 D    Approved        D Disapproved            Reviewed By: _ _ _ _ _ _ _ _ _ _ _ _ __                                       Date:
                                                                                                                                                        Page 2 of 2
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PROPOSED INTERIOR REMODEL FOR:




31 N. WASHINGTON STREET, YPSILANTI, MICHIGAN 48197
                                                                                                            I         I
                                                                             PROJECT TEAM                                                                                                   VICINITY 1.11\f'




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                                                                                                                                                                                                                                                                                                                  0
                                                                                                                    111 !~                                                                                                                                                                                        i
                                                                                               --·--.......,...,"                                                              4!.!.
                                                                                                                                                   e-:..a-~~:I:i~~:i.
                                                                                           IJ.~.~!~!:fllD   ..,,.,.-.c~----
                                                                                                    MINIMUM CLEAR FLOOR                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                     ----
                                                                                                    SPACE                    FOR WHEELCHAIRS
                                                                                                    -ii:i;i;Llti"ii'·;;;;ri;41,;·······-·······························-·---·-·-·-·-                                                                                                                     R102



                                                                                                                                                                                                                                                                                          EXHIBIT 1
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02/10/2021                                             Valuation Report
04;28 PM
llll-ll-40-484-001               2021 Est. '.f:.C.V.               MIC LIMITED
Property Class: 201                                                29 N WASHINGTON ST
Map#: K-2 9-2 {B)                                                  YPSILANTI, MI 48197

OLD SID 11 ll-030-087-10 Y»C 2W-l27 N 61.? FT OF E 110 FT OF LOTB7 & W 25 FT OF
E 135 F'l' OE' LO'I'S 86 & 87 ORIGINAL PLAT

Land Value Est:imates for Land Table 00069.69.DOWNTOWN DISTRICT
                                 *Factors*               AVERAGE LOT SIZE IS
Desc:ciption   Frontage Depth Fror1t Depth Rate %Adj. Reason                  Value
                  61.67 135.00 1.0000 1.1619 1000 100                        71, 654
                  25.00 70.30 1.0000 0.8385 1000 100                         20,961
   87 Actual F:cont Feet, 0, 23 Total Acres     Total Est. Land Value -      92,615

Land Improvement Cost Estimates
Description                                  Rate        Size% Good.           cash value
commercial Local Cost Land Improvements
Description                        Rate        Size% Good Arch Nult            cash value
  ASPHALT PIWING                   2.50        2121     79        99                4,136
                 Total Estimated Land Improvements True Cash Value -                4,136

Cost Estimates for Commercial/Industrial Building/Section;         1        Built 1914
Description of Occupancy: 1ST FLR

Costs are taken from the Stores   Reta:il cost schedules.
<<<<<                     Calculator Cost Computations
  Class: C    Quality: Average
Stories: 1    Story Height; l3        Perimeter; 286

Base Rate for Vpper Floors - 111.74
5tor.:age Basement Basement, Basei Rate for Basement      42.90
    (Basement Fireproofing· Rate = 0. 00)

(10) Heating system; Package Heating & Cooling      Cost/$q~t; 19.24   100%
 Bsmn.t H&ating system: Elect'ric, Cable or Baseboard Cost/$qFt; 7. 78
Adjusted Square Foot Co.st for Upper Floors - 130.98
Adjusted Square Foot Cost for Basement - 50,6$

Total Floor Area: 2 1 418                 Base cost New of Upper Floors         316,709
Basement Area: 2,418                          Base Cost New of Basement         122,544

                                       Reproduction/Replacement Cost -     439,253
Eff,Age;47     Phy.%Good/Abnr.Phy./Func./Econ./Overall %Good: 40 /100/100/100/40.0
                                               Total Depreciated Cost -    175,701

«<«                       Segregated Cost Computations                              »»>
Co~ts taken from Segregated Cost Section 1: Apartu,.ents, Clubs, Hotels
                                    Cost             # or Heiight Storys
Item Desciption                     Col.   Rate      SgFt    Adj.  Adj.             Cost

                                                           Total Cost New                0
Architectural Multiplier; 1.00

                                       Reproduction/Replacement Cost -           0
Eff .Age; 47   Phy.%Good/Abnr.Phy./Func./Econ./Overall %Good; 40 /100/100/100/40.0
                                               Total Depreciated cost~           0

ECF (66. RESTAURANTS AND BARS)                0,730 -> TCV of Bldg; 1 =         128,262
    Replacement Cost/tloo~ ~~ea- 181.66           Est. TCV/Floor Area= 53.04

Cost ~stimates for commercial/Industrial Building/Section:         2        auilt   o
Description of Occupancy: 1ST FLR

Costs are taken from the Theateri - Live Stage cost schedules.
<<<<<                     calculator cost computations
  Class; C    Quality; Average
Stories; 1    Story Height; 24        Perimeter: 286
                                                                                             EXHIBIT 1
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04;28 PM                                                                                          DB,   City 6t Yp$il;;,,nti 2021

Parcel Number: llll-ll-40-484-001                                                       Page: 2


Ease ~ate for Upper Floore~ 164.20

(10) Heating system; Packag<l! Heating & Cooling    Cost/Sqft: 29.60             100%
Adjusted square 1:oot cost fo:r: Upper Floors= 193.80

Total Floor Area; 4,730                     Base Cost New of Upper Floors -             916,674

                                       Reproduction/Replacement Cost -      916,674
Eff ,Age: 47   Phy.~Good/Abnr.Phy./Func./Econ./Overall %Good.: 40 /100/100/100/40.0
                                               Total Depreciated. Cost -    366,670

<<<<<                     Segregated Cost Computations                                    >>>>>
Costs taken from Segregated Cost Section 3: Stores & Coro:mer·cials
                                    Cost                     *
                                                       or aeight storys
Item Desciption                     Col.   Rate     $qFt   Adj.     Adj.                   cost

                                                              rot~l cost New -                0
Architectural Multiplier: 1.00

                                                Reproduction/Replacement cost=              o
Eff.Age:47     Phy. %Good/Abnr. l?hy; /!i'm-ic. /Econ. /Overall %Good; 40 /100/100/100/ 40. 0
                                                        Total Depraciat1d Co5t              o

~Ct (66. RESTAURJ\NTS AND BARS)                 0.730 => TCV of Bldg: 2                 267,669
    Replacement cost/Floor Area= 193.90             Est. TCV/Floor Area= 56.59

Cost Estimates for Commercial/Industrial Building/Section:            3          Built 1914
Description of Occupancy1 2ND FLR

Co::it:i are taken from the Office Buildings cost schedules.
<<<<<                         Calculator Cost Computations
  Class: C       Quality'. Average
Stories: 1       Story Reight; 13         Perimeter; 286

ease Rate for Upper Floors~ 137.92

(10) Heating system; Package Heating & Cooling   Cost/SqFt: 26.01                100%
Adjusted Square Foot Cost for Upper Floors= 163.93

Total Floor Area: 2,41$                     Base Cost New of Upper Floors -             396,383

                                          R.eprod1,ctionJReplacement cost =    396,383
Eff.Age:47     l?hy.%Good/Abnr.l?hy./i,unc./JScon./overall %Good; 40 /100/100/100/40.0
                                                  Total Depreciated cost=      158,553

<<<<<                       segregated cost computations
Costs taken fi::om Segregated cost seetiori 5: Offices, Banks, Hospitals
                                      Cost             # or Height Storya
Item Desciption                       Col.    Rate     SqFt   Adj.  Adj                    Cost

                                                                                              0
Architectural Multiplier: 1.00

                                               Reproduction/Replacement cost                 o
Eff.Age:47     lc'hy. %Good//\bnr. Phy. /Fune. /Econ. /ovei:·all %Good; 40 /100/100/100/ 40. o
                                                       Total Depreciated Cost.=              O

ECF (66. RESTAURANTS AND BARS)                  0.730 -> TC;.V of Bldg; 3               115,744
    Replacement Cost/Floor Area~ 163.93             Est. tCV/Floor Area- 47.87

Cost J\:stimates for comme:rcial/Industrial Building/SectiOn;         4          Built 0
Description of occupancy: 1ST FLR

Costs are taken from the Theaters - Live Stage. cost s.chedules.
                                                                                                          EXHIBIT 1
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02/10/2021                                                        valuation Report
04;28 PM                                                                                                      DB;   City or Y))eilrnti 2021

Parcel Number: llll-ll-40-484-001                                                                  Page: 3

<<<<<                            Calculator Co.st Computations
  Class: C           Quality: Average
Stories: l           Story Height: 30        J?erimeter; 166

Base Rate fo~ Upper ~loo~s - 205.97

(10) tteating system; No Heating or cooling                     CO$t/SqFt;    0.00      100%
Adjusted square Foot cost for Upp~r Floor$                     205.97

Total Floor:· Area: 1, 5 09                             BaBe CoBt New of Upper FloorB              :no, 603
                                            Reproduction/Replacement Cost       310 1 603
Eff.Age:41          Phy.%Good/Abnr.Phy./Func./Econ,/Overall %Good: 40 /100/100/100/40_0
                                                    Total Depreciated Cost=     124,241

<<<<<                     Segregated Cost Computations
CostB taken from Segregated CoBt Section 3: Stores & Commercials
                                    CoBt               or Height Storys *
Item Desciption                     Col.   Rate     SqFt   Adj_   Adj -                               Co:3t

                                                                        Total Co:3t New -                 0
Architectural Multiplier: l_OO

                                                        Reproduction/Replacement CO$t -                   0
                    l?hy. %Good/Al:;,nr. l?hy. /tune. /J;;con./Overall %Good.; 40 /100/100/100/40. 0
                                                               Total Depreciated cost~                    O

ECF ( 6 6. RESTAURANTS AND !:lARS)                         0.730 => TCV of Bldg; 4                  90, 696
    Replacement cost/Floor Area= 205.97                        EBt, TCV/Floor Area= 60.14

Total EBtimated True CaBh Value of Commercial/Industrial Buildings                                 602,371

2021 Est_ r_c_v_ 11-11-40-484-001                                                                  699,122
Est_ TCV/Total Floor Area   63_13, Mo.st recent :3ale 01/01/1991 for 0
2020 Assessed       MBOR      S.E_V_       Base for Cap     C.P.I .
       .'.340,900        340,900            340,900               221,382       1.40
2 on        ~ew      E:q, Adj \lSt:ri,ent      :C.oss          1\.dditions   'l'ax P.djustment      Losses
               0            8,700              0                        0            3,099               0
2021 Assessed                MBOR        S.E.V.                   capped     ->TaRable<-           PRE/MBT
   Tentative          Ter1tati.vi:1    Tentative               Tentative      Tentative          Tentative




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       EXHIBIT G




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  June 28, 2021

  Via email to: ccorwin@shinet.org                      Via Certified Mail, Return
                g.wrubel@moltusbuild.com                Receipt Requested to:

  M.I.C. Limited Inc.
  c/o registered agent Modern Bookkeeping, Inc.         Moltus Building Group
  8252 Lansing Road                                     3200 James Savage Rd., Suite 4
  Durand, Ml 48429                                      Flint, Ml 48507

  Ypsilanti Art Theatre Corp.                           International Amusement, LTD.
  d/b/a Deja Vu Showgirls Ypsilanti                     1108 N. Saginaw St.
  31 N. Washington St.                                  Durand, Ml 48429
  Ypsilanti, Ml 48197

  RE: Zoning Enforcement Action - Loss of nonconforming use status -
      31 N. Washington St. (11-11-40-484-001)

  To Whom It May Concern:

  Deja Vu has submitted an application for structural alterations already made, and others
  proposed to be made, to the building at 31 N. Washington Street ("the Property").

  The application is incomplete. If it were complete, it would be denied because a
  nonconforming use is not eligible to make structural alterations, and because Deja Vu
  has lost any right that it may have had to continue a nonconforming use.

 The application submitted is for a building permit, but the application is incomplete for
 several reasons, including that it is not accompanied by an approved site plan. See City
 of Ypsilanti Zoning Ordinance §122-340(b) ("All applications for building permits shall be
 submitted to the building department. The application shall be accompanied by a site
 plan approved by the planning commission or city planner .... "). Additionally, the
 included drawings do not match the requested permit, i.e., the drawings reflect several
 aspects of construction for which no building permit has been sought.

 The application submitted is not one for a site plan review, because a site plan review
 application involves submission of a different form and requires much more information.
 Zoning Ordinance §122-309(a)-(t) (detailing information each site plan must contain).




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  In any event, as a nonconforming use, Deja Vu is not eligible for a building permit or for
  site plan review to obtain approval of the changes already made to, and proposed for,
  the building or structure that it is in. For the following reasons, Deja Vu has lost any right
  that it may have had to continue its nonconforming use.

  The Deja Vu business at the Property was operating as a nonconforming use under
  Zoning Ordinance §122-346, "Authority to continue class B nonconforming." That
  section states that any right to continue a class B nonconforming use is "subject to the
  regulations of this article," i.e., Article Ill of the Zoning Ordinance.

  Article 111, §122-349, "Class B nonconforming uses of buildings," states in relevant part:

     (b) Expansion of class B nonconforming use.

     (1) The nonconforming use of any part of a building or structure must not be
     expanded or extended into any other portion of such building or structure.

     (2) No visible structural alteration must be made to the building or structure
     devoted to a nonconforming use, except repairs and maintenance work which
     are required to keep such building in sound condition or as required by law.

     (3) An existing structure containing a nonconforming use shall not be enlarged,
     constructed, reconstructed, moved or structurally altered or extended, unless the
     use is changed to a use which is permitted in the district in which the structure is
     located.
     ***
     (d) Removal or destruction. If a building or structure in which a nonconforming
     use is being conducted is removed, destroyed, or severely damaged to the
     extent that the cost of restoration of the structure exceeds 100 percent of the
     state equalized value (SEV) or 50 percent of a higher value established by the
     most recent appraisal of the structure exclusive of the foundation and land, the
     nonconforming use shall not be renewed, and any subsequent use of the
     premises must conform to the use regulations of the district in which the
     premises are located.

 MCL 125.1511 provides that the "alteration of a building or structure shall not be
 commenced until a building permit has been issued." To that end, Zoning Ordinance
 Article Ill, §122-344 "Requirements; duration," pertaining to building permits, provides:

     (a) Permit requirement. No building or structure within the city shall hereafter be
     erected, moved, repaired, altered or razed, nor shall any work be started to erect,
     move, repair, alter, or raze until a building permit has been issued in accordance
     with the building regulations of this Code. No building permit shall be issued
     unless it is in conformity with the provisions of this chapter and all amendments
     hereto.




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  Article 111, §122-375(a) provides that "[a)ny building which is ... altered ... in violation
  of any of the provisions of this chapter is hereby declared to be a public nuisance per se
  .... " This provision follows the Michigan Zoning Enabling Act, which provides that "a
  use of land or a dwelling, building, or structure ... altered ... in violation of a zoning
  ordinance or regulated adopted under this act is a nuisance per se." MCL 125.3407.

  Deja Vu has lost any right it may have had to continue its nonconforming use because
  Deja Vu has: (1) illegally expanded and/or extended its nonconforming use, (2) illegally
  made structural alterations to its building, (3) conducted construction work in violation of
  the Zoning Ordinance's building permit requirement, and (4) had its building severely
  damaged, such that the cost of restoration exceeds the relevant thresholds. Some of
  Deja Vu's unlawful activity has occurred in violation of a prior Stop Work Order and a
  prior enforcement letter detailing Deja Vu's illegal expansion of the nonconforming use.
  Deja Vu's violations, and the relevant conditions of the building, include the following:

     1. Expanding and extending the nonconforming use by using the basement of the
        building, which was previously not in use, for a dressing room, laundry area, and
        shower area for Deja Vu's workers.

     2. Expanding and extending the nonconforming use by structurally altering the
        building by removing preexisting walls and constructing entirely new "VIP rooms"
        on the main floor for Deja Vu's cabaret use and adult live stage performing
        theater use. These new VIP rooms, which Deja Vu originally misrepresented as
        storage rooms, both replace the area formerly used as a dressing room and
        extend into the portion of the building formerly used for the retail adult book or
        supply store.

     3. Making structural alterations to the front of the store entrance area to
        accommodate Deja Vu's unlawful expansion discussed in the prior paragraph.

     4. Making structural alterations, including the demolition of two toilets in the
        basement and the construction of a shower in their place, and the construction of
        Deja Vu's new VIP rooms on the main floor, all without obtaining building permits.

     5. In July 2020, the building was severely damaged by a fire, such that Deja Vu's
        cost of restoration exceeds the limitations set forth in Section 122-349(d).

  Deja Vu's violations of the Zoning Ordinance constitute a nuisance per se, and Deja Vu
  has forfeited and lost any right that it may have had to continue a nonconforming use at
  the Property.




 Joe Meyer
 Director  Economic Development




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